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                     8                                 UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12    In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13             SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB
                    14                                                                Chapter 11
                                           Debtors and Debtors in
                    15                     Possession.            AMAZON LOGISTICS, INC.’S
                                                                  EVIDENTIARY OBJECTIONS RE
                    16    _______________________________________ MOTION FOR RELIEF FROM STAY
                    17    Affects:                                                    Date:           November 18, 2019
                          ■ All Debtors                                               Time:           10:00 a.m.
                    18    □ Scoobeez, ONLY                                            Place.:         United States Bankruptcy Court
                          □ Scoobeez Global, Inc., ONLY                                               Edward Roybal Federal Building
                    19    □ Scoobur LLC, ONLY                                                         255 E Temple St., Ctrm 1375
                                                                                                      Los Angeles CA 90012
                    20
                                                                                      Judge: The Hon. Julia W. Brand
                    21

                    22

                    23             Pursuant to the provisions of Local Rule 9013-1(i)(2), Defendant, Amazon Logistics, Inc.,

                    24    (“Amazon Logistics”), respectfully submits the following evidentiary objections to the

                    25    Declaration of Sean M. McAvoy (Docket No. 418-1) requests that the Court strike the following

                    26    portions of that declaration:

                    27    1
                            The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                          Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                    28    Boulevard, in Glendale, California 91214.
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                     1
                                Objected to Portion of Declaration                       Basis of Objection
                     2
                           ¶ 7: “On information and belief, the           Fed.R.Evid. 602: The proffered testimony is
                     3
                           Debtors provide last-mile delivery             stated on information and belief. Therefore, the
                     4
                           solutions, providing same day, next day        declarant lacks personal knowledge of the subject
                     5
                           and two-day door-to-door logistics an          matter of the proffered testimony.
                     6
                           delivery services utilizing vehicles to
                     7
                           facilitate fast deliveries of goods directly
                     8
                           from merchant distribution points to
                     9
                           consumers.”
                    10
                           ¶ 8: “On information and belief since          Fed.R.Evid. 602: The proffered testimony is
                    11
                           September 2015, the Debtors have one           stated on information and belief. Therefore, the
                    12
                           customer—Amazon Logistics, Inc.                declarant lacks personal knowledge of the subject
                    13
                           (“Amazon Logistics”). Scoobeez and             matter of the proffered testimony.
                    14
                           Amazon Logistics are parties to a
                    15
                           Delivery Provider Terms of Service
                    16
                           which provides the substantive terms of
                    17
                           the contract and a “work order” which
                    18
                           sets forth the specific locations and
                    19
                           pricing terms (the “Amazon
                    20
                           Agreement”).”
                    21
                           ¶ 9: “On information and belief, Debtors       Fed.R.Evid. 602: The proffered testimony is
                    22
                           have been entrusted with six percent of        stated on information and belief. Therefore, the
                    23
                           Amazon Logistics’ total shipment of goods      declarant lacks personal knowledge of the subject
                    24
                           directly from merchant distribution points     matter of the proffered testimony
                    25
                           to consumers, have been awarded the
                    26
                           highest ratings of any DSP, and, until
                    27
                           recently, been given increased numbers of
                    28
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                     1
                           routes.”
                     2
                           ¶ 10: “On information and belief, Debtors       Fed.R.Evid. 602: The proffered testimony is
                     3
                           were founded in 2014 and currently              stated on information and belief. Therefore, the
                     4
                           employ approximately 1000 employees,            declarant lacks personal knowledge of the subject
                     5
                           which typically increases during the            matter of the proffered testimony.
                     6
                           holiday season. Debtors are projected to
                     7
                           generate in excess of $45 million in annual
                     8
                           revenue in 2019.”
                     9
                           ¶ 11: “On information and belief, Debtors’      Fed.R.Evid. 602: The proffered testimony is
                    10
                           employees are based in Los Angeles,             stated on information and belief. Therefore, the
                    11
                           California; Austin, Dallas, and San             declarant lacks personal knowledge of the subject
                    12
                           Antonio, Texas; and Chicago, Illinois,          matter of the proffered testimony.
                    13
                           most of whom work full-time for Debtors,
                    14
                           and earn an average of $30,000 to $35,000
                    15
                           a year.”
                    16
                           ¶ 12: “On information and belief, the           Fed.R.Evid. 602: The proffered testimony is
                    17
                           majority of the Debtor’s employees,             stated on information and belief. Therefore, the
                    18
                           including most of the drivers, come from        declarant lacks personal knowledge of the subject
                    19
                           underserved, low-income backgrounds             matter of the proffered testimony.
                    20
                           who depend on the income they receive
                    21
                           from the company to support themselves
                    22
                           and their families.”
                    23
                           ¶ 12: “Further, unlike at many delivery         Fed.R.Evid. 602: There is no foundation
                    24
                           companies, the Debtors’ employees receive establishing that Mr. McAvoy has personal
                    25
                           full health coverage and are paid wages for     knowledge of the proferred testimony.
                    26
                           a day’s work even if they finish their routes
                    27
                           early, minimizing the likelihood of
                    28
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                     1
                           accidents due to frenetic driving.”
                     2
                           ¶ 22: “Since the CRO’s appointment, the     Fed.R.Evid. 602: There is no foundation
                     3
                           Debtors’ business has been profitable and   establishing that Mr. McAvoy has personal
                     4
                           cash flow positive.”                        knowledge of the proferred testimony.
                     5
                           ¶ 25: “Hillair’s proposed sale provided a   Fed.R.Evid. 602: To the extent that the quoted
                     6
                           means to employ virtually all of the        excerpt of Mr. McAvoy’s declaration purports to
                     7
                           Debtors’ approximately 1,000 employees,     compare the compensation that might be paid by
                     8
                           paying them far more than typically paid    the purchaser as a result of Hillair’s now
                     9
                           by other DSPs.”                             terminated proposed acquisition of the Debtor’s
                    10
                                                                       assets to the compensation paid by other DSPs,
                    11
                                                                       there is no foundation establishing that Mr.
                    12
                                                                       McAvoy has personal knowledge as to what
                    13
                                                                       other DSPs pay their employees.
                    14

                    15    Dated: November 11, 2019                        MORGAN, LEWIS & BOCKIUS LLP
                    16

                    17                                                    By:    /s/ Richard W. Esterkin
                                                                                     Richard W. Esterkin
                    18
                                                                                    Attorneys for Amazon Logistics, Inc.
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                         1                                  CERTIFICATE       OF SERVICE FORM

                         2                                      FOR ELECTRONIC          FILINGS

                         3             Ihereby certify that on November 11,2019, Ielectronically filed the foregoing document,

                         4    Amazon Logistics, Inc.'s Evidentiary      Objections re: Motion For Relief From Stay, with the

                         5    Clerk of the United States Bankruptcy Court, Central District of California, Los Angeles

                         6    Division, using the CM/ECF     system, which will send notification of such filing to those parties

                         7    registered to receive notice on this matter.

                         8

                         9
                                                                             Renee Robles
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